Case 2:21-cv-06007-JAK-MAR Document 61 Filed 02/15/22 Page 1 of 4 Page ID #:739


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     Claimant GAMEBREAKER, INC.
11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   BELLA SUMMIT LLC,                              Case No. 2:21-cv-06007 JAK(MARx)
16
                                 Plaintiff,         STIPULATION TO CONTINUE
          vs.                                       CLAIM CONSTRUCTION
17 GAMEBREAKER, INC.,                               BRIEFING, MARKMAN HEARING,
                                                    AND RELATED DATES
18                             Defendant.
                                                    [Filed concurrently with Declaration of
19
                                                    Ronald P. Abrams and (Proposed) Order]
20

21 GAMEBREAKER, INC.,                               Date Action Filed:       July 26, 2021
                 Counter-Claimant,                  Markman Hearing Date: April 4, 2022
22
           vs.
23 BELLA SUMMIT LLC,                                Trial Date:               None
24              Counter-Defendant.
25 GAMEBREAKER, INC.,
                 Third-Party Plaintiff,
26
            vs.
27 JEFF DAGAN; and KYLE DAGAN,

28            Third-Party Defendants.



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Case 2:21-cv-06007-JAK-MAR Document 61 Filed 02/15/22 Page 2 of 4 Page ID #:740


 1         Pursuant to the December 6, 2021, Order Setting Pretrial Deadlines (Doc. 44),
 2   the Court set relevant dates in the case, including dates relating to claim construction.
 3   The parties have since engaged in substantive settlement discussions and intend to
 4   engage in additional settlement discussions in an effort to, at a minimum, narrow the
 5   issues prior to the settlement conference with Magistrate Judge Margo Marcconi
 6   scheduled for March 29, 2022, if not entirely dispose of the case. The parties believe
 7   that good cause exists to grant a three-week continuance of relevant dates, which
 8   would promote settlement discussions before the parties are required to expend
 9   additional significant legal fees regarding patent claim construction. Accordingly, the
10   parties stipulate, subject to the approval of this Honorable Court, to continuing various
11   non-settlement related dates in accordance with the schedule set forth below:
12

13                                            Date in Order Setting
      Event                                   Pretrial Deadlines    Proposed New Date
14
      Complete Claim Construction
15
      Discovery                               February 14, 2022         March 7, 2022
16    Joint Markman Prehearing
17    Statement                               February 21, 2022         March 14, 2022
18    Simultaneous Opening Markman
      Briefs                                  February 28, 2022         March 21, 2022
19
      Simultaneous Responding Markman
20    Briefs, Tutorials, and Presentation
21    Materials                               March 14, 2022            April 4, 2022
      Markman Hearing                         April 4, 2022             May 2, 2022
22
      Markman Decision                        May 2, 2022               May 31, 2022
23    Last day to participate in a
24    settlement conference/mediation         May 27, 2022              May 27, 2022
25    Patentee Files Final Infringement
26    Contentions, Expert Reports on
      issues where Patentee has burden of
27    proof, All parties file Advice of
28    Counsel Disclosures                     June 1, 2022              June 29, 2022



                                              -2-
Case 2:21-cv-06007-JAK-MAR Document 61 Filed 02/15/22 Page 3 of 4 Page ID #:741


 1
                                            Date in Order Setting
 2   Event                                  Pretrial Deadlines    Proposed New Date
 3
     Last day to file notice of settlement /
 4   joint report re settlement              June 3, 2022            June 24, 2022
 5                                          June 13, 2022 at 11:30   June 13, 2022 at
 6   Post Mediation Status Conference       a.m.                     11:30 a.m.
 7   Accused Infringer Files Final
 8   Invalidity Contentions, Rebuttal
     Expert Reports, and Opening Expert
 9   Reports Where Accused Infringer
10   has Burden of Proof                    June 27, 2022            July 25, 2022

11   Patentee’s Rebuttal Expert Reports
     on Issues where Accused Infringer
12   has Burden of Proof                    July 25, 2022            August 22, 2022
13   Discovery Cut-Off                      August 22, 2022          September 19, 2022
14   Last day to file All Motions
     (including discovery motions)          September 19, 2022       October 17, 2022
15

16   DATED: February 15, 2022               BRUTZKUS GUBNER
17

18

19
                                                 /s/ Ronald P. Abrams
                                            Ronald P. Abrams
20                                          Attorneys for Defendant and Counter-Claimant
                                            GAMEBREAKER, INC.
21
     DATED: February 15, 2022               WOLF, RIFKIN, SHAPIRO, SCHULMAN
22                                          & RABKIN, LLP
23

24                                               /s/ Witt W. Chang

25                                          Witt W. Chang
                                            Attorneys for Plaintiff and Counter-Defendant
26                                          BELLA SUMMIT LLC and Third-Party
27
                                            Defendants JEFF DAGAN and KYLE
                                            DAGAN
28                                          ___________________________________



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Case 2:21-cv-06007-JAK-MAR Document 61 Filed 02/15/22 Page 4 of 4 Page ID #:742


 1                                E-FILING ATTESTATION
 2

 3         I, RONALD P. ABRAMS, am the ECF User whose ID and password are being
 4   used to file this document. I hereby attest that WITT W. CHANG has concurred in
 5   this filing’s content and have authorized the filing.
 6

 7                                           /s/ Ronald P. Abrams
 8                                           Ronald P. Abrams
 9

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